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$2  5HY  6XPPRQV LQ D &LYLO $FWLRQ 3DJH 

&LYLO $FWLRQ 1R

                                                    PROOF OF SERVICE
                    (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          7KLV VXPPRQV IRU QDPH RI LQGLYLGXDO DQG WLWOH LI DQ\
ZDV UHFHLYHG E\ PH RQ GDWH                                         

          u , SHUVRQDOO\ VHUYHG WKH VXPPRQV RQ WKH LQGLYLGXDO DW SODFH
                                                                             RQ GDWH                                RU

          u , OHIW WKH VXPPRQV DW WKH LQGLYLGXDO¶V UHVLGHQFH RU XVXDO SODFH RI DERGH ZLWK QDPH
                                                               D SHUVRQ RI VXLWDEOH DJH DQG GLVFUHWLRQ ZKR UHVLGHV WKHUH
          RQ GDWH                                DQG PDLOHG D FRS\ WR WKH LQGLYLGXDO¶V ODVW NQRZQ DGGUHVV RU

          u , VHUYHG WKH VXPPRQV RQ QDPH RI LQGLYLGXDO                                                                       ZKR LV
           GHVLJQDWHG E\ ODZ WR DFFHSW VHUYLFH RI SURFHVV RQ EHKDOI RI QDPH RI RUJDQL]DWLRQ
                                                                             RQ GDWH                                RU

          u , UHWXUQHG WKH VXPPRQV XQH[HFXWHG EHFDXVH                                                                             RU

          u 2WKHU VSHFLI\ 




          0\ IHHV DUH                          IRU WUDYHO DQG                   IRU VHUYLFHV IRU D WRWDO RI           0.00          


          , GHFODUH XQGHU SHQDOW\ RI SHUMXU\ WKDW WKLV LQIRUPDWLRQ LV WUXH


'DWH
                                                                                         6HUYHU¶V VLJQDWXUH



                                                                                       3ULQWHG QDPH DQG WLWOH




                                                                                         6HUYHU¶V DGGUHVV

$GGLWLRQDO LQIRUPDWLRQ UHJDUGLQJ DWWHPSWHG VHUYLFH HWF
